        Case 3:14-cr-00185-JAM                Document 64           Filed 04/14/15          Page 1 of 14




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA

             v.                                                         No. 3:14-cr-00185 (JAM)

 RAUL CHAVEZ and ANDREW DURON


                                RULING ON MOTIONS TO SUPPRESS

         The government has charged defendant Raul Chavez with conspiring to distribute

cocaine. He moves to suppress evidence on the grounds that he was arrested without probable

cause and that his post-arrest statements were made in violation of his Miranda rights. See Docs.

#29-1, #31, #35, #44, #45. Following a suppression hearing, I now conclude that law

enforcement officers had probable cause to arrest Chavez, that Chavez did not invoke his

Miranda right to counsel or to silence, and that Chavez otherwise validly waived his Miranda

rights. Accordingly, the Court will deny Chavez‘s motions to suppress.

                                                  BACKGROUND

         The following are my findings of fact based on the record and testimony from the

suppression hearing.1 Beginning in October 2013, Chavez‘s co-defendant Andrew Duron was the

subject of a DEA investigation and reverse sting operation. At that time, he and a confidential

source for the DEA began negotiations for the confidential source to sell Duron large amounts of

cocaine. Eventually, they met in New Jersey and agreed to a deal for five kilograms for

approximately $28,000 a kilogram. Duron told the confidential source that he would need to


         1
           I rely on facts as set forth in the suppression hearing testimony of DEA Task Force Officer Francis Bellizi
(Doc. #62), as well as the filed affidavits of DEA Special Agent Jay Salvatore (Doc. #56-1) and DEA Task Force
Officer Jeffrey Poulin (Doc. #56-2).

                                                          1
       Case 3:14-cr-00185-JAM          Document 64       Filed 04/14/15     Page 2 of 14




drive back to Connecticut to speak with his associates and would then contact him to confirm the

deal and arrange the sale. In July 2014, Duron and the confidential source met again in North

Carolina for further negotiations. There, Duron stated that he wanted to purchase up to 50

kilograms of cocaine at $28,000 a kilogram, and he phoned someone he described as the ―main

guy.‖ Doc. #56-1 ¶ 10.

       In early August 2014, Duron phoned the confidential source multiple times, stating that

he was in Texas but was ready to buy cocaine in Connecticut. Duron proposed to first purchase

25 kilograms of cocaine, then to later purchase another 25 kilograms. On August 14, a DEA

undercover agent met with Duron in New Jersey, and they agreed on a plan for Duron initially to

show or ―flash‖ the undercover agent a sum of $700,000 and then for the agent in turn to deliver

25 kilograms of cocaine within four hours. They agreed to complete the deal in Connecticut on

Saturday, August 23, at a location to be determined. During the course of the many negotiation

conversations, Duron told the undercover agent on multiple occasions that he was ―waiting for

my guys to come up.‖ Id. ¶ 14.

       On August 23, 2014, Duron and the undercover agent met at a Starbucks in Wethersfield,

Connecticut. This meeting was subject to surveillance by law enforcement officials, including

Francis Bellizi, a DEA task force officer who testified at the suppression hearing. Doc. #62 (Mar.

20, 2015 Tr.). The undercover agent was ―wired‖ so that surveillance officers could

contemporaneously monitor the substance of conversations between him and Duron. At the

Starbucks, Duron stated in substance that ―his guys, the main guys were here,‖ and he told the

agent to follow him to a Target department store shopping plaza in Windsor, Connecticut. Doc.

#62 at 18; see also Doc. #56-1 ¶ 15.

       The two then drove in separate vehicles to the shopping plaza, arriving at around 12:45



                                                2
       Case 3:14-cr-00185-JAM          Document 64        Filed 04/14/15     Page 3 of 14




p.m., by which time multiple law enforcement officers had also arrived to covertly observe the

scene and subsequent events. Once at the parking lot, Duron and the undercover agent parked

directly next to each other. Duron told the agent that he was going to go meet the ―guy,‖ get the

money from a house, and return with it in 20 minutes. Doc. #56-1 ¶ 16. Duron then walked into

the Target store, where he remained for the next approximately 20 minutes.

       In the meantime, while Duron was still inside the store, Chavez was observed arriving at

the shopping plaza in a car driven by another Hispanic male. Bellizi testified that he saw a

Nissan Altima with Massachusetts license plates drive past him along the road running in front

of the Target store. According to Bellizi, Chavez was in the front passenger seat with the window

open. He saw that Chavez ―was looking about the lot, scanning the lot,‖ and this caught Bellizi‘s

attention because ―you really don‘t see that type of behavior.‖ Doc. #62 at 29.

       Soon, Duron came out in front of the store and began speaking with Chavez and another

Hispanic male who was later identified as Angel Ramirez. Bellizi could see that the conversation

was ―mostly directed between Mr. Duron and Mr. Chavez.‖ Doc. #62 at 28. At some point, a

woman who would later be identified as Chavez‘s wife approached the group briefly and then

walked away. Eventually, Ramirez went into the store, leaving Duron and Chavez in continued

conversation. None of the individuals was seen with any shopping bags.

       After his conversation with Chavez, Duron walked back to the undercover agent‘s car in

the parking lot and told him the money would arrive shortly. Some more time passed, and the

agent asked Duron what was going on. Duron said that he would talk again to his contact. He

approached and spoke to Chavez outside the Target store, then returned to the agent to explain

that the individual with the money had gone to the wrong Target store but would be arriving

shortly. Duron said he would move his car so that the individual with the money could park next



                                                 3
        Case 3:14-cr-00185-JAM               Document 64          Filed 04/14/15         Page 4 of 14




to the agent and allow him to inspect the money.

        Around 2:30 p.m.—now more than an hour and a half after Duron and Chavez had

arrived at the shopping plaza—a burgundy Jeep Wrangler arrived. Duron moved his vehicle to

another spot, and the Jeep parked in the spot he had vacated next to the undercover agent. The

agent left his vehicle and approached the passenger-side window of the Jeep for a minute or two.

Inside the Jeep, the driver—a Hispanic male—showed the agent a cash-stuffed duffel bag, but

the agent learned that it was only about half of the agreed-upon $700,000.

        The Jeep then drove across the parking lot to a parking space about two or three spots

from where was parked the Nissan Altima in which Chavez had arrived. At that time, in view of

the large amount of money that had been ―flashed‖ to the undercover agent, the surveillance

team determined that it was time to move in and make arrests. Bellizi arrested Doron, while other

officers across the parking lot closed in to arrest Chavez, who was then walking toward the Jeep.

They also arrested Ramirez, who was getting into the Nissan Altima, and they arrested another

Hispanic male, Jesse Rosales, who was at that time in the driver‘s seat of the Jeep.2 On the back

seat of the Jeep was a duffel bag with $284,860 in cash, and in the glove compartment was a

loaded .38 caliber revolver.

        Chavez was immediately advised of his Miranda rights. He told the officers that he was

in Connecticut to visit his godson, Rosales, and that they were going to attend a party. Officers

seized from Chavez‘s person two cell phones, as well as six more cell phones from the Jeep

occupied by Rosales and from the car occupied by Duron. Eventually, the government applied

for and obtained a search warrant to search the contents of the eight cell phones.

        2
           According to the government, the government initially misidentified the driver of the Jeep when the
money was shown to the undercover agent as Rosales, when in fact it was Ramirez; the government contends that
after the money was shown, Rosales took Ramirez‘s place in the Jeep, while Ramirez went to the Nissan Altima in
which Chavez had been riding. See Doc. #56-2 at 8–9 n.1. Whether the driver of the Jeep at the time of the ―money
flash‖ was Rosales or Ramirez is not material to the Court‘s determination of probable cause as to Chavez.

                                                        4
        Case 3:14-cr-00185-JAM               Document 64           Filed 04/14/15        Page 5 of 14




        Chavez was soon transported to a DEA office for questioning, and his statements there

were videotaped. See Doc. #60-2 at 2; Gov‘t. Exh. 2. At the beginning of the interview, the

agents advised Chavez again of his Miranda rights, both orally and by presenting him with a

written form. First, the officers noted that the rights of which they were advising him were the

same as those they had discussed earlier in the day, to which Chavez responded ―Yes sir.‖ Doc.

#60-3 at 2; Doc. #61 at 1. Special Agent Salvatore then recited Chavez‘s Miranda rights:

        Before we ask you any questions, do you understand you have the right to remain
        silent, anything you say can be used against you in court, you have the right to
        talk to a lawyer for advice before we ask you any questions, you have the right to
        have a lawyer with you before you answer any questions, if you cannot afford
        one, one will be appointed for you. Do you understand?

Doc. #60-3 at 2; Doc. #61 at 1. Chavez responded ―yes.‖ Doc. #60-3 at 2; Doc. #61 at 1.

        Following this acknowledgment, the agents asked whether Chavez was willing to answer

some questions, to which he asked what he was being charged with and stated that he wanted to

know the charges ―before I say anything.‖ Doc. #60-3 at 2; Doc. #61 at 2. The agents attempted

to review again the advice-and-waiver-of-rights form, but Chavez was unwilling to sign the

form, expressing now his wish that a lawyer read the form to him because ―I don‘t know what

I‘m being charged with and I don‘t want to sign something to get me in trouble cause I didn‘t

read it.‖ Doc. #60-3 at 2; Doc. #61 at 1.3 In his brief, Chavez reiterates this explanation for his

reference to a lawyer, stating that he was ―unable to read the sheet and asked if he could have a

lawyer to read [the rights] to him, indicating that he didn‘t know what he was being charged with

and didn‘t want to get in trouble for signing something he could not read.‖ Doc. #29-1 at 6.

        After the agents again explained that the form was only an outline of Chavez‘s rights, and

        3
          The parties disagree about the precise wording that Chavez used in referring to a lawyer with respect to
reading his rights. Defendant contends that Chavez said: ―Can I have a lawyer read them to me?‖ Doc. #60-3 at 2.
The government contends that Chavez said ―I‘ll have a lawyer read them to me.‖ Doc. #61 at 2. Under either version
of the words used by Chavez, I conclude that Chavez did not unequivocally invoke his right to counsel in connection
with questioning.

                                                        5
       Case 3:14-cr-00185-JAM          Document 64        Filed 04/14/15      Page 6 of 14




Chavez again indicated that he wanted to know any charges before signing anything, Salvatore

told Chavez that they were investigating a narcotics conspiracy. He again asked whether Chavez

understood his right to remain silent, and Chavez stated, ―[y]es, I understand that I have the right

to remain silent. But I don‘t understand what I‘m being charged for.‖ Doc. #60-3 at 3; Doc. #61

at 3. The agents told him he did not have to sign the form. Salvatore asked one more time: ―You

understand your rights, right?‖ to which Chavez responded, ―I understand my rights.‖ Doc. #60-

3 at 3; Doc. #61 at 3. The conversation then turned to discussion of the charges in connection

with a conspiracy for narcotics. Chavez told the agents that ―I could answer you some questions

if you ask if I understand them. I don‘t mind[.]‖ Doc. #60-3 at 3; Doc. #61 at 3. Questioning

about Chavez‘s visit to Connecticut ensued, and Chavez thereafter made statements that the

government intends to introduce at trial.

                                            DISCUSSION

       Chavez moves to suppress evidence on two grounds. First, he contends that he was

arrested without probable cause in violation of the Fourth Amendment, and on this basis seeks

suppression of the physical evidence subsequently seized from him (including his cell phones)

and the statements he made while under arrest. Second, he contends that his statements were

obtained in violation of his Miranda rights, because he was subject to questioning after he had

invoked his rights to silence and to counsel and because he did not otherwise validly waive his

Miranda rights.

       Probable Cause for Arrest

       The Fourth Amendment guarantees in part ―[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.‖ An arresting

officer may make a warrantless arrest consistent with the Fourth Amendment when he has



                                                 6
       Case 3:14-cr-00185-JAM           Document 64        Filed 04/14/15       Page 7 of 14




―probable cause to believe a crime has been or is being committed.‖ United States v.

Delossantos, 536 F.3d 155, 158 (2d Cir. 2008) (citing United States v. Watson, 423 U.S. 411,

417 (1976)).

       Probable cause exists when officers have ―‗reasonably trustworthy information as to [ ]

facts and circumstances that are sufficient to warrant a person of reasonable caution in the belief

that an offense has been . . . committed by the person to be arrested.‘‖ Ackerson v. City of White

Plains, 702 F.3d 15, 19 (2d Cir. 2012) (alterations in original) (quoting Zellner v. Summerlin,

494 F.3d 344, 368 (2d Cir. 2007)). As the Supreme Court has oft advised, probable cause is ―‗a

fluid concept—turning on the assessment of probabilities in particular factual contexts—not

readily, or even usefully, reduced to a neat set of legal rules.‘‖ Florida v. Harris, 133 S. Ct.

1050, 1056 (2013) (quoting Illinois v. Gates, 462 U.S. 213, 232 (1983)). All that is required for a

determination of probable cause is a fair probability of criminal conduct in light of the totality of

circumstances. Id. at 1055–56. ―Once a police officer has a reasonable basis for believing there is

probable cause, he is not required to explore and eliminate every theoretically plausible claim of

innocence before making an arrest.‖ Ricciuti v. N.Y.C. Transit Authority, 124 F.3d 124, 128 (2d

Cir. 1997) (citing Baker v. McCollan, 443 U.S. 137, 145–46 (1979)).

       Here, I conclude that the facts known to the officers at the time established clear probable

cause to place Chavez under arrest. To begin with, the officers knew that Duron was not working

alone but that he had associates and was acting under orders from the ―main guy.‖ Chavez was

seen arriving at the Target shopping plaza shortly after Duron arrived, and he was ―scanning‖ the

parking lot in an unusual manner. Chavez was thereafter observed twice speaking with Duron in

front of the Target store, both times shortly after Duron had departed from the undercover agent

to seek further direction and information about the arrival of the money to show the agent.



                                                  7
        Case 3:14-cr-00185-JAM                 Document 64            Filed 04/14/15          Page 8 of 14




Neither Chavez nor his companions had any shopping bags, and there was no indication that

Chavez was at the shopping plaza to shop. Indeed, Chavez arrived at the plaza at approximately

12:45 p.m., and he was still there for apparently no legitimate reason more than an hour and a

half later at 2:30 p.m. when the Jeep arrived to flash the money. When the agents finally closed

in to make arrests, Chavez was walking toward the Jeep, and the Jeep was parked but a few

spaces away from the Nissan Altima in which Chavez arrived. All in all, the totality of the

circumstances gave rise to a fair probability that Chavez was the ―main guy‖ or some other

culpable associate of Duron‘s who was there to aid in the intended cocaine deal.4 The agents had

probable cause to arrest Chavez.

         Post-Arrest Statements

         In Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court famously ruled that the

government may not use a suspect‘s statements against him at trial if the statements were the

result of custodial interrogation and if the police did not employ appropriate procedural

safeguards to protect the Fifth Amendment privilege against self-incrimination (such as to

administer warnings and to obtain a knowing, intelligent, and voluntary waiver of the suspect‘s

rights to silence and to counsel). See, e.g., United States v. Medunjanin, 752 F.3d 576, 585–87

(2d Cir. 2014) (discussing Miranda rule). Here, there is no dispute that Chavez was subject to

custodial interrogation that triggered his Miranda rights.

         Chavez first argues that he was subject to questioning despite having asserted his right to

counsel. The Miranda rule requires that all questioning of a suspect stop if the suspect invokes

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           Chavez was plainly arrested at the scene, and I do not credit the government‘s alternative argument that
Chavez was subject merely to an investigative detention that only later ripened into an arrest after Chavez was
transported for questioning to a DEA office and when agents learned more facts about Chavez. In addition, at the
suppression hearing, Chavez made clear that his Fourth Amendment claim challenges the existence of probable
cause only at the time of arrest, not at the later time that law enforcement authorities applied for search warrants, and
I therefore do not consider information learned about Chavez after he was placed under arrest or any challenge to the
subsequent search warrants.

                                                           8
       Case 3:14-cr-00185-JAM           Document 64        Filed 04/14/15      Page 9 of 14




his right to counsel and that it not resume unless counsel is present or unless the suspect re-

initiates communications with the police. See, e.g., Edwards v. Arizona, 451 U.S. 477, 482

(1981); United States v. Gonzalez, 764 F.3d 159, 165–66 (2d Cir. 2014). But a suspect‘s

invocation or request for counsel must be clear and unequivocal. See Berghuis v. Thompkins, 560

U.S. 370, 381 (2010); Davis v. United States, 512 U.S. 452, 459 (1994). The Supreme Court and

Second Circuit have found too ambiguous or equivocal statements such as ―Maybe I should talk

to a lawyer,‖ Davis, 512 U.S. at 462, ―Do you think I need a lawyer?‖ Diaz v. Senowski, 76 F.3d

61, 64–65 (2d Cir. 1996), ―I don‘t know if I need a lawyer,‖ United States v. Plugh, 648 F.3d

118, 125–27 (2d Cir. 2011), and statements that a suspect ―was going to get a lawyer,‖ United

States v. Scarpa, 897 F.2d 63, 68–70 (2d Cir. 1990), or already had a lawyer in another case,

United States v. Oehne, 698 F.3d 119, 123 (2d Cir. 2012). By contrast, the Second Circuit has

found that the statement ―I think I should get a lawyer,‖ amounted to an unequivocal request for

counsel, because it did not include ―perhaps‖ or ―maybe‖ and ―evidence[d] no internal debate

whatsoever.‖ Wood v. Ercole, 644 F.3d 83, 91 (2d Cir. 2011).

       Relatedly, the Miranda right to counsel is triggered only by a request ―that can

reasonably be construed to be an expression of a desire for the assistance of an attorney in

dealing with custodial interrogation by the police.‖ McNeil v. Wisconsin, 501 U.S. 171, 178

(1991) (emphasis in original). It follows that if a suspect makes only a limited request for the

assistance of counsel in some manner that does not involve assistance in responding to questions

by the police, then Miranda does not prevent officers from continuing to question the suspect.

For example, the Supreme Court has ruled that police were not foreclosed from questioning a

suspect who refused to provide a written statement without the presence of an attorney but who

otherwise made clear that he was willing to give an oral statement. See Connecticut v. Barrett,



                                                  9
      Case 3:14-cr-00185-JAM           Document 64        Filed 04/14/15      Page 10 of 14




479 U.S. 523, 527–30 (1987); see also United States v. Mikelic, 2011 WL 4368565, at *11 (D.

Conn. 2011) (Droney, J.) (Miranda did not bar questioning of suspect who ―expressed a desire to

cooperate with law enforcement officers and wanted to ‗answer some questions,‘‖ and who

―stated that he wanted to speak with his lawyer with respect to certain questions,‖ without

―immediately identify[ing] the questions or issues he desired to consult with his attorney on‖);

United States v. Newton, 2012 WL 170008, at *7 (D. Vt. 2012) (Miranda did not bar questioning

of suspect who invoked his right to counsel only for purpose of whether to sign a written waiver-

of-rights form, noting that ―after Defendant revealed that he knew how to invoke his right to

counsel, he did so for the limited purpose of ensuring that he did not sign anything without

consulting an attorney first,‖ and that ―[a]n invocation of counsel for a limited purpose is valid

and does not automatically extend to questioning that occurs thereafter‖).

       In light of the foregoing legal framework, I conclude that Chavez‘s single reference to a

lawyer was not an unambiguous request for an attorney and, to the extent it could be said to be

unequivocal, it was no more than a limited request for an attorney to read him the written

Miranda rights form, as opposed to a request for an attorney to represent him in connection with

any questioning. When presented with the Miranda form, Chavez said either: ―Can I have a

lawyer read them to me? ‗Cause I don‘t know what I‘m being charged with and I don‘t want to

sign something to get me in trouble cause I didn‘t read it,‖ Doc. #60-3 at 2, or ―I‘ll have a lawyer

read them to me because I don‘t know what I‘m being charged with and I don‘t want to sign

something to get me in trouble cause I didn‘t read it,‖ Doc. #61 at 2. Rather than belabor the

written form, the agents respected Chavez‘s desire not to sign a form he could not read, put the

form away, and confirmed orally—multiple times—that Chavez understood his rights before

beginning any substantive questioning. I find that Chavez‘s words did not amount to an



                                                 10
      Case 3:14-cr-00185-JAM          Document 64        Filed 04/14/15      Page 11 of 14




unambiguous invocation of his Fifth Amendment right to an attorney for any purpose other than

reading the form, which he freely chose not to sign.

       Nor did Chavez invoke his right to silence (as distinct from his right to counsel). A

suspect who wishes to invoke his Miranda right to silence must do so unambiguously. See

Berghuis, 560 U.S. at 381–82. When asked whether he was willing to answer questions, Chavez

responded by asking what he was being charged with. ―First, before I say anything, I want to

know what I‘m being charged with.‖ Doc. #60-3 at 2; Doc. #61 at 2 (omitting the final three

words). A few moments later, when asked whether he was willing to sign the written form, he

again stated: ―Well, I wanna know what I‘m being charged for before I sign anything.‖ Doc. 60-

3 at 3; Doc. #61 at 2. And when asked explicitly, ―[d]o you understand you have the right to

remain silent, yes or no?‖ Chavez responded ―[y]es, I understand I have the right to remain

silent. But I don‘t understand what I‘m being charged for.‖ Doc. #60-3 at 3; Doc. #61 at 3. The

agents then confirmed a final time that Chavez understood his rights (to which he stated ―I

understand my rights‖), told him he did not need to sign the written form, and explained that he

was ―being charged in connection with a conspiracy for a narcotics violation.‖ Doc. #60-3 at 3;

Doc. #61 at 3. They asked whether he wanted to answer questions about it. Chavez stated ―I

could answer you some questions if you ask if I understand them.‖ Doc. #60-3 at 3; Doc. #61 at

3. The agents asked one more time whether he understood; Chavez stated, ―I understand.‖ Doc.

#60-3 at 3; Doc. #61 at 3. Then questioning began. At no point afterward did Chavez state that

he wished to remain silent.

       Chavez‘s only statement relating to his right to silence was his statement that ―before I

say anything, I want to know what I‘m being charged with.‖ See Doc. #60-3 at 2; Doc. #61 at 2

(omitting the final three words). This was consistent with his expressed desire not to sign the



                                                11
      Case 3:14-cr-00185-JAM            Document 64         Filed 04/14/15       Page 12 of 14




form before hearing the charge against him and amounted to a conditional statement that he

would not speak until told the charges. He repeated several times that he understood his rights

and explicitly stated that he understood his right to remain silent but did not understand the

charge against him. Just over two minutes into the interview, after Chavez had repeatedly

confirmed that he understood his Miranda rights, the agents explained that the charge against

him involved a narcotics conspiracy, and Chavez told them that he was willing to answer

questions if he understood them. Chavez did not unambiguously assert his right to silence, and

even to the extent that he conditionally asserted a right to silence, it is clear that this condition

was satisfied when he was advised of the nature of the charge against him, and he chose then to

continue speaking with the agents.

        Finally, apart from his claims that he invoked his right to counsel and to silence, I

conclude that the government has carried its burden to show that Chavez validly waived his

Miranda rights. See, e.g., United States v. Murphy, 703 F.3d 182, 192–93 (2d Cir. 2012). Despite

the fact that Chavez declined to sign the Miranda waiver form, the government was not required

to have him waive his rights in writing. See North Carolina v. Butler, 441 U.S. 369, 374–75

(1979); United States v. Boston, 508 F.2d 1171, 1175 (2d Cir. 1974). Indeed, the Supreme Court

has made clear that Miranda ―does not impose a formalistic waiver procedure that a suspect must

follow to relinquish those rights‖ and that ―[a]s a general proposition, the law can presume that

an individual who, with a full understanding of his or her rights, acts in a manner inconsistent

with their exercise has made a deliberate choice to relinquish the protection those rights afford.‖

Berghuis, 560 U.S. at 385.

        Here, the video evidence shows that Chavez was advised of all his rights orally and then

agreed to speak with the agents. There is no contention that the agents coerced Chavez (Doc.



                                                   12
      Case 3:14-cr-00185-JAM           Document 64        Filed 04/14/15       Page 13 of 14




#29-1 at 8), and the evidence shows that his statements were voluntarily given. Nor is there any

basis to conclude that he did not understand his rights as explained to him or that he did not

waive his rights when he promptly agreed to answer questions. See Berghuis, 560 U.S. at 388

(noting that ―after giving a Miranda warning, police may interrogate a suspect who has neither

invoked nor waived his or her Miranda rights‖ and that ―[o]n these premises, it follows the

police were not required to obtain a waiver of [defendant‘s] Miranda rights before commencing

the interrogation‖).

       Chavez argues that his inability to read the written rights form demonstrates that he did

not have a full awareness of the rights being waived or the consequences of waiving them.

Chavez‘s refusal to sign the written waiver form, in context, is far more consistent with a desire

not to sign something he did not feel comfortable reading than with an indication that he did not

understand his rights. In fact, he expressly indicated at least four times out loud that he

understood his rights: first, when the officers explained that they were describing the same rights

they‘d described earlier that day, Chavez responded ―[y]es sir.‖ Doc. #60-3 at 2; Doc. #61 at 1;

second, when an agent recited the Miranda rights and asked whether Chavez understood, he said

―yes.‖ Doc. #60-3 at 2; Doc. #61 at 1; third, after an agent again asked whether Chavez

understood his rights and understood that he could remain silent, Chavez said ―[y]es, I

understand that I have the right to remain silent.‖ Doc. #60-3 at 3; Doc. #61 at 3; finally, after

taking away the written form, an agent asked again, ―You understand your rights, right?‖ and

Chavez responded ―I understand my rights.‖ Doc. #60-3 at 3; Doc. #61 at 3. Chavez‘s

videotaped statement shows him speaking and understanding spoken English without visible

trouble. His explicit statements that he understood his Miranda rights suffice to establish by

more than a preponderance of the evidence that the waiver was knowing and voluntary, despite



                                                 13
      Case 3:14-cr-00185-JAM          Document 64         Filed 04/14/15    Page 14 of 14




his refusal to sign the form.

       Chavez also argues that he may have suffered a concussion during his arrest. Although it

appears undisputed that he was struck in the head by one of the agents during the course of his

arrest, the video of his subsequent interview at the DEA office shows that he was alert and

focused and without visible injuries. There has been no evidence introduced that indicates the

extent of any injuries he may have suffered, or that such injuries would have interfered with his

ability to understand and knowingly waive his rights. See United States v. Robinson, 2006 WL

923695, at *2, *5 (D. Conn. 2006) (defendant who had been drinking alcohol and who had

visible head injuries, but who nevertheless appeared awake, alert, and coherent was not impaired

to a degree that would have interfered with his ability to knowingly and voluntarily waive his

Miranda rights).

       In short, I conclude that Chavez did not unambiguously invoke his right to counsel or his

right to silence. And I further conclude that Chavez voluntarily, knowingly, and intelligently

waived his Miranda rights before responding to questioning from law enforcement agents.

                                          CONCLUSION

       For the foregoing reasons, Chavez‘s motions to suppress (Docs. #29-1, #31, #35, #44,

#45) are DENIED.

       It is so ordered.

       Dated at Bridgeport this 14th day of April 2015.




                                                     /s/ Jeffrey Alker Meyer
                                                     Jeffrey Alker Meyer
                                                     United States District Judge




                                                14
